Case 1:22-cv-22900-KMM Document 34 Entered on FLSD Docket 01/25/2023 Page 1 of 1
  JESUS GABRIEL GELLA,                    UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
       PLAINTIFF(S),                      CASE NO.: 1:22-cv-22900-KMM

  vs.                                NOTICE OF COMPLETION OF MEDIATION
  HEALTHCARE REVENUE RECOVERY GROUP,
  LLC,
                                     FLORIDA BAR NO.: 354929

      DEFENDANT(S),


          Mediation was completed and the matter amicably settled between the parties on the 21st
  day of January 2023 The parties agreed to prepare and submit to the Court an appropriate order
  or pleading dismissing this cause after all outstanding mediation fees are paid.


  Plaintiff(s) and counsel agree to promptly pay outstanding mediation fees of $725.00 less
  payment received $725.00= $0.00


  Defendant(s) and counsel agree to promptly pay outstanding mediation fees of $1,175.00 less
  payment received $725.00= $450.00.




         I hereby certify that on the 25th day of January 2023, a true and correct copy of the
  foregoing was emailed to: Patrick Frank, Esq. and Keisha D Rice, Esq, lawatf@aol.com,
  Frank & Rice, P.A.325 West Park Ave, Tallahassee, FL 32301; Ernest H. Kohlmyer, III,
  Esquire, Skohlmyer@shepardfirm.com, tkittilson@shepardfirm.com, Shepard, Smith,
  Kohlmyer & Hand, P.A., 2300 Maitland Center Parkway, Suite 100, Maitland, Florida 32751.



                                                Laurie Riemer
                                                ___________________________
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